                         S                                              .
                                                                                                         p
                                                                                                             3:   9
                                                                                        \%t3EC
                            THE UNITED STATES DISTRICT' COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 JONATHAN LANGLEY                                   §
      Plaintiff                                     §
                                                    §
 v.                                                 §          CASE NO. 1:18-CV-00443-LY
                                                    §
 INTERNATIONAL BUSINESS MACHINES                    §
 CORPORATION                                        §
      Defendant                                     §




                                     SCHEDULING ORDER

        Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court issues the following

scheduling order.

        IT IS ORDERED THAT:

        1.     The parties shall file all amended or supplemental pleadings and shall join

additional parties on or before October 15, 2018.

        2.     All parties asserting claims for relief shall file and serve on all other parties their

designation of potential witnesses, testifying experts, and proposed exhibits, and shall serve on

all other parties, but not file, the materials required by Federal Rule of Civil Procedure

26(a)(2)(B) on or before February 25, 2019. Parties resisting claims for relief shall file and serve

on all other parties their designations of potential witnesses, testifying experts, and proposed

exhibits, and shall serve on all other parties, but not file, the materials required by Federal Rule

of Civil Procedure 26(a)(2)(B) on or before March 25, 2019. All designations of rebuttal experts

shall be filed and served on all other parties not later than 14 days of receipt of the report of the

opposing expert, and the materials required by Federal Rule of Civil Procedure 26(a)(2)(B) for
                         S                                             .

such rebuttal experts, to the extent not already served, shall be served, but not filed, on all other

parties not later than 14 days of receipt of the report of the opposing expert.

        3.      The parties asserting claims for relief shall submit a written offer of settlement to

opposing parties on or before November 1, 2018, and each opposing party shall respond, in

writing, on or before December 14, 2018. All offers of settlement are to be private, not filed, and

the Court is not to be advised of the same. The parties are further ORDERED to retain the

written offers of settlement and responses as the Court will use these in assessing attorney's fees

and court costs at the conclusion of trial.

       4.      A report on alternative dispute resolution in compliance with Local Rule CV-88

shall be filed on or before August 31,2018.

       5.      Any objection to the reliability of an expert's proposed testimony under Federal

Rule of Evidence 702 shall be made by motion, specifically stating the basis for the objection

and identifying the objectionable testimony, not later than 14 days of receipt of the written report

of the expert's proposed testimony or not later than 14 days of the expert's deposition, if .a

deposition is taken, whichever is later. The failure to strictly comply with this paragraph will

be deemed a waiver of any objection that could have been made pursuant to Federal Rule

of Evidence 702.

       6.      The parties shall complete discovery on or before           25, 2019. Counsel may,

by agreement, continue discovery beyond the deadline, but there will be no intervention by the

Court except in extraordinary circumstances, and no trial setting will be vacated because of

information obtained in post-deadline discovery.

       7.      All dispositive motions shall be filed and served on all other parties on or before

     15, 2019, and shall be limited to 20 pages. Responses shall be filed and served on all other




                                                -2-
                         .                                                 .

parties not later than 14 days after the service of the motion and shall be limited to 20 pages. Any

replies shall be filed and served on all other parties not later than 14 days after the service of the

response and shall be limited to 10 pages, but the Court need not wait for the reply before ruling

on the motion.

        The parties shall not complete the following paragraph 8. It will be completed by

the Court at the initial pretrial conference to be scheduled by the COurt.

        8.       This case is set for final pretrial conference, in chambers, on       thday of
                                 Zat.Mnd                                        trial in the month of

                 AørJ' The                                      (
                               final pretrial conference shall be attended by at least one of the

attorneys who will conduct the trial for each of the parties and by any unrepresented parties. The

parties should consult Local Rule CV- 16(e) regarding matters to be filed in advance of the final

pretrial conference.

       SIGNED this     hV4ay of                                     ,   2018.




                                                      Tl HONORi$LE L YEAKEL
                                                      UNITED STATES DISTRICT JUDGE




                                                -3-
                   S                             S

AGREED:

        Heidi A. Coughlin                   Alison B. Marshall
      Typed or Printed Name                Typed or Printed Name




            Signature
                                                        JLKU
                                                 Signature

ATTORNEYS FOR PLAINTIFF(S)          ATTORNEYS FOR DEFENDANT(S)




                              -4-
